         Case: 1:24-cv-01861-DAP Doc #: 36-10 Filed: 05/16/25 1 of 15. PageID #: 362



                                                 Lorain County
                                   N Y_ CILLO
                               ( TO_
                                              PROSECUTOR


                                                     April 17, 2025

Mr. Daniel Suhr
Hughes & Suhr, LLC
Chicago, IL 60614

Re:    Your Correspondence of February 28, 2025
       Nieves, et al. v. Lorain County Board of Commissioners, et al.
       U.S. District Court, N.D. Ohio Case No. 1:24-cv-01861


Dear Mr. Suhr:

Please be advised that the Lorain County Treasurer has asked our office to respond on their behalf to the
correspondence referenced above, as it comes from counsel and the Lorain County Treasurer is represented by
counsel, namely our office.

Concerning parcel no. 0201003203008 (the “Property”), I am attaching a copy of the consent entry filed with
Lorain County Common Pleas Court on April 15, 2022, in the tax foreclosure matter associated with the
Property. This document is attached as Exhibit A. According to this entry, your clients consented to a finding
of an outstanding aggregate tax liability of $15,830.44 on the Property, including accrued taxes, delinquencies,
assessments, penalties, interest, and charges as of the date of filing of the entry. This is to provide you with
credible evidence of the delinquency on the property at the time of judgment, to which your clients consented.

I am further attaching a Certification of Failure to Sell Real Estate, and a Notice of Property to be Forfeited
and Right to Claim with Instructions to the Clerk, both of which were filed on July 18, 2022. They are attached
as Exhibits B and C. Both documents make reference to R.C. 5723.01, by which the Property was ultimately
forfeited to the State of Ohio.

Concerning your first question, the Treasurer is not able to provide a response on whether the transfer of the
Property from the Lorain County Land Reutilization Corporation (the “Land Bank”) to All American Home
Renovations, LLC (“All American”) in 2024 commenced pursuant to R.C. Chapter 5722 or 5723. Subsequent
to the forfeiture of parcels of land to the State of Ohio under R.C. 5723.01, the Treasurer’s involvement with
such parcels ends, and his office has no further interaction with them until such time as they again become
viable for tax collection. Concerning your representation that the deed transferring ownership of the Property
from the State to the Land Bank states on its face that the transfer occurred pursuant to R.C. 5722.04, we have
no reason to doubt your veracity and would simply respond that the reference to R.C. 5722.04 speaks for itself.




        225 Court Street, 3rd Floor, Elyria, Ohio 44035 P: 440-329-5389 • F: 440-329-5430 • E: lcp@lcprosecutor.org
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Mr. Daniel Suhr
April 17, 2025
Page 2


The remainder of your questions concern the possibility of recovering and transferring any surplus from the
proceeds of the sale of the Property from the Land Bank to All American, exceeding the outstanding tax
liability. In response to these questions, I am attaching the purchase agreement between the Land Bank and All
American, as Exhibit D. As evidenced from this document, the purchase price totaled $5,000.00. Thus as you
have requested, I hereby inform you that there was no surplus over and above the tax liability that had accrued
on the Property at the time your clients consented to the tax liability judgment on the Property, which had
probably increased due to additional accruals by the time of forfeiture.

Please advise if you have any questions or concerns regarding the content of this correspondence.


                                                  Sincerely,

                                                     ~
                                                  Leigh S. Prugh
                                                  Assistant Prosecuting Attorney


cc:    Counsel, Nieves v. Lorain County Board of Commissioners,
       U.S. District Court N.D. Ohio Case No. 1:24-cv-01861
       Lorain County Treasurer
       File




        225 Court Street, 3rd Floor, Elyria, Ohio 44035 P: 440-329-5389 • F: 440-329-5430 • E: lcp@lcprosecutor.org
         Case: 1:24-cv-01861-DAP Doc #: 36-10 Filed: 05/16/25 3 of 15. PageID #: 364
f




                               IN THE COURT OF COMMON PLEAS
                                    LORAIN COUNTY, OHIO
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                                                                                                   TUM Or\L;\/t08
     LORAIN COUNTY TREASURER,                   )      CASE NO. 22TX007883
                                                )
                             Plaintiff          )      JUDGE RAYMOND J. EWERS
                                                )
             vs.                                )      CONSENT
                                                )      JUDGMENT ENTRY
     INES NIEVES KNA INES PERES,                )
                                                                                                                 J
     et al                                      )                                                                                       ~)

                                                                                                                 (-
                                                                                                                                         ,--...)



                                                                                                                                         -·=-o
                                                                                                                                         I_.,

                                                )      SHERIFF SALE                                           r:- (                                       ----3
                             Defendants         )      P. P. No. 02-01-003-203-008                                                        ::::0             I "i
                                                                                                                                                           ---")
                                                                                                                                          u,
                                                                                                                                                                -~
    1.      This cause coming on for hearing on the Complaint of the Plaintiff, Daniel J. Talarek,                                         --u
                                                                                                                                           --              I l
                                                                                                                                            N              0
    Lorain County Treasurer. On the evidence presented, the Court finds that the necessary par1:_ies                                        N
                                                                                                                            I                C)


    have been served with summons according to law and are properly before the Court. The parties

    have consented to the herein judgment as indicated by their affixed signatures.

    2.     The Court further finds that there is due Plaintiff in rem, the aggregate sum of $15,830.44

    plus court costs which includes accrued taxes, delinquencies, assessments, penalties, interest and

    charges as of this filing. Additional taxes, penalties, and interest, in an amount unascertainable

    at this time, continue to accrue and shall be included as part of the balance due if applicable.

    3.      The Court further finds that Plaintiff has a first and best lien against the premises

    described in the Complaint and is entitled to recover the entire amount of taxes set forth herein

    from the sale of the premises.

    4.     The Court further finds that through the return of service the subject property is vacant.

    Therefore, the Unknown Tenants are an unnecessary party and are hereby dismissed.

    5.     The Court further finds that Defendants Betsy Ramos and Ines Nieves kna Ines Perez are


                                                                         EXHIBIT A
     Case: 1:24-cv-01861-DAP Doc #: 36-10 Filed: 05/16/25 4 of 15. PageID #: 365




single, therefore the Unknown Spouse of Betsy Ramos and Inez Nieves kna Ines Perez are

unnecessary parties and are hereby dismissed.

6.       The Court further finds that there is no just reason for delay in entering judgment for the

Plaintiff.

                                              DESCRIPTION

         SEE LEGAL DESCRIPTION ATTACHED HERETO AND INCORPORATED BY
         REFERENCE AS EXHIBIT "A".

         Permanent Parcel No.          02-01-003-203-008

         Commonly known as :            125 West 29th St., Lorain, OH 44055, Lorain County

         Prior Deed References:        Instrument No. 20060140961 of Lorain County Records.

And, coming now to distribute the proceeds of said sale, it is ordered that the Sheriff out of the

funds in his hands pay:

FIRST:           To the Clerk of Courts the costs of this action, including the fees of appraisers.

SECOND:         To the Plaintiff, Treasurer of Lorain County, the unpaid taxes, assessments,
                interest and penalties due and payable on said premises.

THIRD:          The balance, if any, to be held by the Clerk, pending further order.


         IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that unless Plaintiff is

paid the sum of $15,830.44 plus interest and court costs an Order of Sale shall be issued to the

Sheriff of Lorain County, Ohio, directing him to advertise and sell, without appraisal, the

following described premises for not less than the Judgment granted herein, including taxes,

assessments, penalties and charges payable subsequent to the delivery of the delinquent land tax

certificate to the prosecuting attorney of Lorain County, Ohio, prior to the entry of the

confirmation of sale, and thereafter to report his proceedings to the Court, and await further

orders from the said Court.
   Case: 1:24-cv-01861-DAP Doc #: 36-10 Filed: 05/16/25 5 of 15. PageID #: 366




        IT IS FURTHER ORDERED, ADJUDGED AND DECREED that a notice of sale shall

be published in a newspaper of general circulation in Lorain County, Ohio.




                                                          JUDGE RAYMOND J. EWERS


CONSENT:




Counsel for Plaintiff




~                   ' .



Betsy Ramo~
Defendant



        INSTRUCTIONS TO THE CLERK: THIS IS A FINAL APPEALABLE ORDER

Pursuant to Civ.R.58(B), you are to serve notice of this judgment and its date of entry upon the
journal to all parties not in default for failure to appear within three days of the Judgment's entry
upon the journal and note the service on the docket.
                      Case: 1:24-cv-01861-DAP Doc #: 36-10 Filed: 05/16/25 6 of 15. PageID #: 367
•
                                                                      SCHEDULE A


    Description of Land

    Situated in the City of Lorain, County of Lorain and State of Ohio: And known as being Sublot No. 43 in Morehouse and Foster's Subdivision, of part
    of Original Black River Township Lot No. 3., Tract 1, as shown by the recorded plat in Volume 4, Page 27 of Lorain County Records, and being a
    parcel of land 50 feet front on the Southerly side of Allen Avenue, now known as West 29th Street, and extending back of equal width 132.92 feet, as
    appears by said plat, be the same more or less.
    Permanent Parcel No. 02-01-003-203-008

    Commonly known as 125 West 29th Street, Lorain, Ohio 44055




    ORT Form 4276 A & B

    PJR 09/01 /2014
   Case: 1:24-cv-01861-DAP Doc #: 36-10 Filed: 05/16/25 7 of 15. PageID #: 368




                            IN THE COURT OE_·SOMMON PLEAS
                                 LORAIN cobNT~t <o~pp

    LORAIN COUNTY TREASURER,122        ~ ': '. CA.Si NO. 22TX007883
                          c,_~ .. )
             PLAINTIFF           11.. d L;\~:,:1.~ J"UDGE RAYMOND J. EWERS
                                                   )
             vs.                                   )
                                                             CERTIFICATION OF FAILURE TO
                                                   )
                                                   )         SELL REAL ESTATE
    INES NIEVES KNA INES PERES,                    )
    ETAL                                           )         P. P. NO: 02-01-003-203-008
                                                   )
                    DEFENDANTS                     )
                                                   )


         J.D. Tomlinson, Lorain County Prosecuting Attorney, by and through the undersigned
Assistant Prosecuting Attorney, hereby certifies to the Court that the real estate described in the
Judgment Entry filed in this case was offered for sale on two separate occasions and did not sell
for want of bidders. Therefore, pursuant to R.C . 5723.01 , Plaintiff moves this Court to issue notice
to the City of Lorain, Lorain City Schools, and the Lorain County Land Reutilization
Corporation that the property at issue in this matter is going to be forfeited to the state and that it
can instead be forfeited to them if they petition the Court within 14 days after notification by the
Court.
                                                       Respectfully submitted,

                                                       J.D. TOMLINSON
                                                       Prosecuting Attorney
                                                       Lorain County, Ohio


                                                       ~EL~Rftss096)
                                                       Assistant Prosecuting Attorney
                                                       Attorneys for Lorain County Treasurer
                                                       225 Court Street, 3rd Floor
                                                       Elyria, Ohio 44035-5642
                                                       Phone: (440) 329-5656
                                                       Fax: (440) 329-5430




                                                                          EXHIBIT B
    Case: 1:24-cv-01861-DAP Doc #: 36-10 Filed: 05/16/25 8 of 15. PageID #: 369




                           IN THE COURT OF.--GOIY!J>10N PLEAS
                                LORAll'f COUN?t'Y ,-'OliI0

                                                   r ~1       ' )·     I ""l       J    -.:~_ GS
    LORAIN COUNTY TREASURER .ulc                                )-                     CASE NO. 22TX007883
                                               .               )               '         '·-- · .J
                                           (         '    '        .               '
                    PLAINTIFF              " - - , ·~ l ~'. v•-~" ''JUDGE RAYMOND J. EWERS
                                                               )
            vs.                                                )
                                                               )                       NOTICE OF PROPERTY TO BE
                                                               )                       FORFEITED AND RIGHT TO CLAIM
    INES NIEVES KNA INES PERES,                                )                       WITH INSTRUCTIONS TO THE CLERK
    ETAL                                                       )
                                                               )
                                                               )
                                                                                       P. P. NO: 02-01-003-203-008
                    DEFENDANTS
                                                               )



       This Court hereby gives notice to the City of Lorain, Lorain City Schools and the Lorain
County Land Reutilization Corporation that property known as follows:
       Permanent Parcel No.            02-01-003-203-008

       Commonly known as:              125 West 29th St., Lorain, OH 44055

       Prior Deed Reference:           Instrument No. 20060140961 of Lorain County Records
is the subject of a tax foreclosure in this matter and the property has been offered twice at sheriff
sale and has failed to sell. Pursuant to R.C. 5723.01 , this Court is providing the City of Lorain,
Lorain City Schools and the Lorain County Land Reutilization Corporation with notice of
their right to petition this Court to have the property forfeited to them. Should the City of Lorain,
Lorain City Schools or the Lorain County Land Reutilization Corporation wish to have this
property transferred to them under the authority ofR.C. 5723.01, they shall file a petition with this
Court in this case with fourteen (14) days of this notice. If no petition is received within ten days,
the property shall be forfeited to the State of Ohio.
         Clerk of Courts is ordered to issue this notice to the entities listed below:
       City of Lorain
       c/o Law Director's Office
       200 West Erie Ave.
       Lorain, OH 44052

       Lorain City Schools
       2350 Pole Ave.
       Lorain, OH 44052

       Lorain County Land Reutilization Corporation
       226 Middle Ave., 5th Fl.
       Elyria, OH 44035



                                                                        MAGISTRATE
                                                                                                      EXHIBIT C
           Case: 1:24-cv-01861-DAP Doc #: 36-10 Filed: 05/16/25 9 of 15. PageID #: 370

Page 1 of 4 Pages
                                          Purchase A1:reement
THIS AGREEMENT is entered into by and between
                 Seller's Information                                       Buyer's Information
        Lorain
          _ _County Land Reutilization Corporation             Name(s): Ricki Perkis Jr
N ames:;_
    ( )        ___    __   ____         _ __

                                                               All American Home Renovations LLC
               226
CurrentAdd r e s   Middle Ave 5th Floor & Current Address: 215 Howe St •
                 s:___________

Elyria, OH 44035                                               Elyria, OH 44035
          hereinafter referred to as "Seller"                       hereinafter referred to as "Buyer".
1. In consideration of the mutual promises herein contained, Seller agrees to sell and convey and Buyer agrees
   to buy and pay for, in accordance with the terms and conditions of this contract, the property known as
125 W 29th St. Lorain, OH 44055
                                                (Address or short legal), 02-01-003-203-008
     see Exhibit "A" for legal description, Permanent Parcel Numbers _ _ _ _ _ _ _ _ _ _ _ _ __
     including but not limited to: all electrical, heating, plumbing, and bathroom fixtures; all window and door
     shades, blinds, awnings, screens, storm windows, curtain and drapery fixtures; all landscaping, smoke
     detectors, the kitchen cook range, oven, refrigerator, dishwasher, garage openers and specifically the
     following items shall remain:
n/a
     located thereon and hereinafter referred to as "Property".

     The following are specifically not included: n/a
                                                    ----------------------

2. The Buyer and Seller heregy designate and appoint Old Republic National Title Insurance, to be the
"Escrow Agent" and issue the Buyer a title policy pursuant to the terms of this agreement.

3.   Buyer agrees to pay for the Property the sum* of           $5000.00
                                    *total of3a, 3b, and 3c.

     This amount shall be paid as follows:
     a. Earnest money in the amount of
     shall be deposited with the Escrow Agent and applied to the purchase price upon signing of this contract.

     b. The Buyer intends to finance the sum of

     This contract is contingent upon the Buyers obtaining financing in the amount stated. The Buyer agrees to
     making application with a lender within 5 business days of this contract, and use his "good faith" effort to
     obtain such loan. Buyer agrees to either remove this contingency or satisfy this contingency by obtaining a
     loan commitment within 30 days of the date of this contract.


                                                                                EXHIBIT D
          Case: 1:24-cv-01861-DAP Doc #: 36-10 Filed: 05/16/25 10 of 15. PageID #: 371

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     If at any time after application is made by the Buyer the Buyer is notified that a loan cannot be obtained or
     that this contingency cannot be satisfied this agreement shall become null and void at the option of either
     party and all earnest moneys shall be returned to the Buyer.

                                         oH:ype of Financing: DvA
D     Conventional                                                                                          Dther

     c. The balance sum of$ _n_/_a_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is to be deposited with the
     Escrow Agent and applied toward the purchase price, at closing.

4. Seller agrees to furnish a warranty deed, with release of dower, conveying to Buyer in joint and survivorship
   form, good record marketable title in fee simple free and clear of all encumbrances except, easements, and
   rights of ways of record, and conditions and restrictions of record, zoning ordinances, real estate taxes and
   assessements, for the current year and thereafter.

5. An Owner's fee policy of Title Insurance in the amoung of the purchase price shall be issued by Old
   Republic National Title Insurance Company, 160 Cleveland St., Elyria, OH 44035, 440-322-5300. If any
   defect in title is discovered prior to the time of closing and if it is not waived in writing by Buyer, Seller
   shall have a reasonable extension of time for closing, but in no event more than thirty (30) days from the
   date Seller is notified of the defect, for removal of said defect.

6.    All real estate taxes, assessments and rents, if any, shall be prorated in escrow, as of the date of title transfer.
     In prorating taxes and assessments, the amount assessed by the county auditor on the latest available tax
     duplicate shall be used. If the property being transferred is new construction and recently completed or
     in the process of completion, the Escrow Agent is instructed to make a good faith estimate of the taxes
     to be owed on the value of the improved property to the date of title transfer and credit the Buyer from
     Seller's funds so that the Buyer can pay those taxes when they become due and payable. Association fees
     and maintenance fees shall be prorated by the Escrow Agent. If the property is in agricultural recoupment,
     CAUV, the Seller agrees to credit the Buyer the recoupage amount, unless the property will be kept in the
     CAUV program by the Buyer.

7. The Escrow Agent shall charge to Seller and pay out of the purchase price:
      (a)    one half of the escrow fee;
      (b)    the cost of the real estate conveyance fee;
      (c)    any amount due Buyer by reason of proation;
      (d)    the cost of title exam;
      (e)    one half the cost of the Owner's Title Insurance Policy; and
      (f)    the preparation of the warranty deed.

     The Escrow Agent shall charge Buyer
        (a)    all fees for filing the warranty deed and the mortgage deed if any placed upon the property;
        (b)    any other costs associated with the Buyer's financing;
        (c)    one half the cost of the Owner's Title Insurance Policy;
        (d)    one half the escrow fee; and
        (e)    the cost of inspections.

If Buyer has an FHA/VA mortgage, and regulations prohibit payment of certian fees by Buyer, Seller agrees to
pay such fees.
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8. All documents and funds necessary for the completion of this transaction shall be deposited with the
   Escrow Agent on or before n/a                             (date). Titile shall be transferred on or before
   _ _ _ _ _ _ _ _ _ (date). Seller agrees to deliver possession of the property on the later date of
   either within _ _ _ _ days of Title Transfer or on _ _ _ _ _ _ _ _ _ (date) at ____ AM/PM.


9. The Buyer is purchasing the property subject to the following inspection(s) by a qualified inspection of
   the Buyer's choice within the specified numbers of days from the formation of this Agreement. The Buyer
   acknowledges receipt of the "Residential Property Disclosure Form" from the Seller and the Disclosure
   oflnformation on Lead-Based Paint and Lead-Based Paint Hazards. The "Residential Property Disclosure
   Form" and "Disclosure of Information on Lead-Based Paint and Lead-Based Paint Hazards" are attached
   hereto as addendum and are made a part hereof. The Buyer acknowlesdges receipt of the pamphlet "Protect
   your Family from lead in Your Home."

   Inspections required by any state, county, local government or FHANA do not necessarily eliminate
   the need for the inspections below:

   Choice                   Inspection                                                                 Expense
   Yes
   D
               No
               II I         General Home               _    days from formation of contract
                                                                                                       1   7
                                                                                                       Bu er ~er

   D           I   I   I    Septic System              _    days from formation of contract            DD
   D           [ZJ          Termite/Pest               _    days from formation of contract            DD
   D           [ZJ          Well Flow/Potability       _    days from formation of contract            DD
   D           [ZJ          Radon                      _    days from formation of contract            DD
   D                                                   _    days from formation of contract            DD
              t;0ther
                       ~J    i{~~Buyer elects to waive each professional inspection to which purchase
    has not indicated "yes". Any failure by Buyer to perform any inspection indicated "yes" herein is a waive
    of such inspection and shall be deemed by absolute acceptance of the Property By Buyer and its "as is"
    condition.

    After each inspection is completed, Buyer shall have three (3) days to elect one of the following:
    a) remove the inspection contingency and accept the property in its "as is" present physical condition, or
    b) accept the property subject to Seller agreeing to have specific items corrected at the Seller's expense, or
    c) terminate this agreement if written report(s) identify material latent defects NOT previously disclosed in
        writing to the Seller
    If the property is accepted in its "as is"present physical condition, Buyer agrees to sign an amendment to
    this agreement removing the inspection contingency and this agreement will proceed in full force and effect.
    If the property is accepted subject to the Seller repairing specific defects, Buyer shall provide Seller a copy
    of the inspection report(s) and sign an amendment to this agreement removing the inspection contingency
    and identifying the defects which are to be repaired. Seller and Buyer shall have three (3) days from Seller's
    receipt of the written list of defects and the inspection report(s) to agree in writing which defects, if any, will
    be corrected at Seller's expense.

    Seller warrants that Seller has disclosed to Buyer all notices recieved pursuant Ohio's sex offender law
    (Megan's Law). The Buyer acknoledges that the information disclosed may no longer be accurate and agrees
    to inquire with the local sherriff's office. Buyer agrees to assume responsibility to check with the local
    sherrif's office to validate the accuracy and timeliness of the information.
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10. The risk of loss shall remain with the Seller until title transfer. Should such property be substantially
    damaged by fire or other casualty prior to filing the Deed the Buyer shall have the option to void this
    agreement in which event all earnest moneys shall be returned to the Buyer and such agreement shall
    become null and void, or have such insurance proceeds deposited into escrow thereupon completing the
    purchase.

11. The parties acknoledge and represent that no real estate agent or broker has been used in this transaction.

12. This contract shall be governed by the laws of the State of Ohio. The covenants, conditions, and agreements
    herein shall be binding upon each of the parties hereto, and their respective heirs, devisees, executors,
    administrators, successors and assigns, and shall be deemed to contain all their terms and conditions agreed
    upon, it being agreed that there are no outside conditions, representations, warranties, or agreements. The
    terms and conditions to be performed by the Seller shall survive the delivery and acceptane of the deed. Any
    portion of the contract declared invalid by law will not void the remainder of thi   O l'l.tract.

                                    (                                                uye_r:.s,-
                                                                                       ,,,
                                                                                             -
                                                                                             ,.--




Sign t   e ell
Lorain County Land Reutilization Corportation
Printed Name                                              Printed Name


Signature Seller                                          Signature Buyer


Printed Name                                              Printed Name




Home Phone#: 440-328-2336                                 Home Phone#: _ _ _ _ _ _ _ _ _ _ _ _ __

Cell Phone#: _ _ _ _ _ _ _ _ _ _ _ _ __                    Cell Phone#: _ _ _ _ _ _ _ _ _ _ _ _ __

JLM iIler@lorai ncou nty. us
Email                                                     Email


Date:---------------                                     Date: _ _ _ _ _ _ _ _ _ _ _ _ _ __
 This contract is open for acceptance for 3 days after the date first signed.

    NOTE: All parties are advised to seek legal counsel prior to completing this agreement or signing this
    agreement.
             Case: 1:24-cv-01861-DAP Doc #: 36-10 Filed: 05/16/25 13 of 15. PageID #: 374

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                                                                                                                            Clerk      12




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   Case: 1:24-cv-01861-DAP Doc #: 36-10 Filed: 05/16/25 14 of 15. PageID #: 375
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  DEEDSFee:$0.00Page 1 of2
  Recorded: 7/24/2024 at 11:07 AM
  Receipt: T20240014847                                JRANSffRRf D
  LollrainlClounlty Rllelcordlelr Mi.ke Dolrelnl   I   IN COMPLIANCE WITH SEC. 319_202
                                                               OHIO REV. CODE      ( / .,··
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                                                                                                 t       /
                                                                                         i/   , ' ~'




                                                            JUL 2 4 2024                  c
Quit Claim Deed1 CRAIGLORAIN
                         SNODGRASS, CPA,
                             COUNTY AUDITOR
                                                                                    c~{/7/J!           - "· •

         Know all Men by these Presents

That, Lorain County Land Reutilization Corporation, the Grantor, who may claim title by or
through Instrument No. 2023-0907905 recorded in the Lorain County Recorder's Office, for
good and valuable consideration received to its full satisfaction All American Home
Renovations LLC the Grantee, whose TAX MAILING ADDRESS will be 215 Howe St. Elyria,
OH 44035, has given, granted, remised, released and forever quit-claimed, and does by these
presents absolutely give, grant, remise, release and forever quit-claim unto the said Grantee, its
successors and assigns forever, all such right and title as it, the said Grantors, has or may have in
and to the premises identified by Permanent Parcel Number 02-01-003-203-008 and as described
below,


Situated in the City of Lorain, County of Lorain and State of Ohio; and known as being Sublot
No. 43 in Morehouse and Foster's Subdivision, of part of Original Black River Township Lot
No. 3, Tract 1, as shown by the recorded plat in Volume 4, Page 27 of Lorain County Records,
and being a parcel ofland 50 feet front on the Southerly side of Allen Avenue, now known as
West 29 th Street, and extending back of equal width 132.92 feet, as appears by said plat, being
the same more or less.



P.P. No. 02-01-003-203-008




TO HA VE AND TO HOLD the above granted and bargained premises, with the appurtenances

thereof, unto the said Grantee, its successors and assigns, so that neither the said Grantors, nor its

successors or assigns, nor any other persons claiming title through or under it, shall or will
    Case: 1:24-cv-01861-DAP Doc #: 36-10 Filed: 05/16/25 15 of 15. PageID #: 376



hereafter claim or demand any right or title to the premises, or any part thereof; but they and

every one of them shall by these presents be excluded forever.

Signed and acknowledged in the presence of:



 B y : ~ / ~ ~ - ~ ~ ·-
    James
 Lorain C              d Reutilization Corporation


State of Ohio                     )
                                  )
Lorain County,                    ) ss.

        Before me, a Notary Public, in and for said County and State, James L. Miller, Assistant
Director Lorain County Land Reutilization Corporation personally appeared and
acknowledged that she / he did sign the foregoing instrument and that the same is her / his free
act and deed.




This instrument prepared by:                                           Nicol• Finnerty
Lorain County Land Reutilization Corporation                     Notery Publlc, State of Ohio
226 Middle Ave. 5th Floor
                                                                  My Commission Expires:
                                                                       August 14, 2028
Elyria, OH 44035
